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 4
                            UNITED STATES DISTRICT COURT
 5                         EASTERN DISTRICT OF WASHINGTON

 6 UNITED STATES OF AMERICA,
                                                    No. CR-10-0047-EFS-1
 7                      Plaintiff,
                                                    ORDER GRANTING MOTION
 8     vs.                                          TO MODIFY

 9 JACQUELYN A. CRAWFORD,

10                      Defendant.

             Before the court is Defendant’s unopposed Motion to Modify Conditions of
11
     Release.
12
             IT IS ORDERED, for good cause shown, the Defendant’s unopposed Motion
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     to Modify Condition No. 29 (Ct. Rec. 97) to include employment is GRANTED,
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     provided Defendant has no access to or involvement in personal identification or
15
     financial records of private individuals.
16
             DATED November 5, 2010.
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18
                               S/ CYNTHIA IMBROGNO
19                        UNITED STATES MAGISTRATE JUDGE

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     ORDER - 1
